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  PAUL J. BEARD II (State Bar No. 210563)
1 FISHERBROYLES LLP
2 4470 W. Sunset Blvd., Suite 93165
  Los Angeles, CA 90027
3 Telephone: (818) 216-3988
  Facsimile: (213) 402-5034
4 E-mail: paul.beard@fisherbroyles.com
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  Attorneys for Plaintiff
6 SOUTHERN CALIFORNIA RENTAL HOUSING ASSOCIATION
7                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
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   SOUTHERN CALIFORNIA RENTAL                 Case No.: 3:21-cv-00912-L-DEB
10 HOUSING ASSOCIATION,
                                              Judge:   Judge M. James Lorenz
11             Plaintiff
12
         v.                                   PLAINTIFF’S AMENDED
13                                            REQUEST FOR JUDICIAL
   COUNTY OF SAN DIEGO, BOARD OF              NOTICE IN SUPPORT OF
14 SUPERVISORS OF THE COUNTY OF               OPPOSITION TO DEFENDANT
   SAN DIEGO, and DOES 1 through 20,          COUNTY OF SAN DIEGO’S
15 inclusive,                                 “REVISED” MOTION TO DISMISS
16
              Defendants.
17                                            Date: February 27, 2023
                                              Time: 10:30 a.m.
18                                            Room: 5B
19
20                                            Complaint Filed: May 13, 2021 Trial
                                              Date:        None set
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         PLAINTIFF’S RJN ISO OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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1        Plaintiff requests this Court to take judicial notice, pursuant to Rule 201 of the
2 Federal Rules of Evidence, of Exhibit 1 attached to the accompanying declaration of
3 Paul Beard II.
4        The Exhibit is a public record showing statistics associated with the COVID-19
5 pandemic within the County of San Diego, created by the County and accessible on its
6 official website.
7    DATED: May 22, 2023
8
                                   /s/ Paul Beard II
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                                   PAUL BEARD II
10                                 Attorney for Plaintiff SOUTHERN CALIFORNIA
                                   RENTAL HOUSING ASSOCIATION
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         PLAINTIFF’S RJN ISO OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
